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                      ATTACHMENT A
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                        Relevant Provisions of the Argentine Criminal Law

Section 172 - Fraud

Anyone who defrauds another by false pretenses as to their identity, capacity, title, influence, by
breach of trust, or by simulation of title to property, creditworthiness, agency, enterprise or legal
capacity or by means of deceit or any other misrepresentation shall be held liable to a term of
imprisonment ranging between one month and six years.


Section 173: Fraud by a Fiduciary

Without limiting the generality of the foregoing provision, the following cases shall be deemed
special cases of fraud and shall be subject to the penalty therein established
        Paragraph 7: Anyone who is entrusted with the management, administration or the
safekeeping of assets or pecuniary interests other than their own by the law, an authority or by
means of a juridical act shall commit fraud in the event that, for the purpose of either making
undue profit for themselves or for any third party or causing harm, they breach their duties in
detriment to the interests or assets entrusted or abusively bind the holders of such interests or
assets.

Section 174 — Fraud Against the Public Administration

Anyone who...
       Paragraph 5: commits fraud to the detriment of any public administration shall be liable
to imprisonment for a term of two to six years.
